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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001   03 MDL 1570 (GBD) (SN)
                                                 ECF Case


This document relates to:

Underwriting Members of Lloyd’s Syndicate 2, et al. v. Al Rajhi Bank, et al., No. 16-cv-07853
Addesso, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09937
Aguilar, et al. v. Kingdom of Saudi Arabia, et al., No. 16-cv-09663
Hodges, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00117
Aiken, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-00450
Charter Oak Fire Insurance Co., et al. v. Al Rajhi Bank, et al., No. 17-cv-02651
Abarca, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03887
Arrowood Indemnity Co., et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03908
Abedhajajreh, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-06123
Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v. Kingdom
of Saudi Arabia, et al., No. 17-cv-07914
Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-08617

    AFFIRMATION OF J. SCOTT TARBUTTON TRANSMITTING EVIDENCE IN
    SUPPORT OF PLAINTIFFS’ AVERMENT OF JURISDICTIONAL FACTS AND
     EVIDENCE AND/OR STATEMENT OF FACTS PURSUANT TO RULE 56.1

                        (Previously Filed Under Seal at ECF No. 9625)




                                                                        December 9, 2024
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         UNDER SEAL – SUBJECT TO MDL AND FBI PROTECTIVE ORDERS


                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


 In re Terrorist Attacks on September 11, 2001     03 MDL 1570 (GBD) (SN)
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This document relates to:

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Arrowood Indemnity Co., et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-03908
Abedhajajreh, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-06123
Muenchener Rueckversicherungs-Gesellschaft Aktiengesellschaft in Muenchen, et al. v. Kingdom
of Saudi Arabia, et al., No. 17-cv-07914
Abbate, et al. v. Kingdom of Saudi Arabia, et al., No. 17-cv-08617

    AFFIRMATION OF J. SCOTT TARBUTTON TRANSMITTING EVIDENCE IN
    SUPPORT OF PLAINTIFFS’ AVERMENT OF JURISDICTIONAL FACTS AND
     EVIDENCE AND/OR STATEMENT OF FACTS PURSUANT TO RULE 56.1
       I, J. Scott Tarbutton affirm, under penalty of perjury, as follows:

       1.      I am an attorney admitted to practice pro hac vice in the above-captioned matter,

and a member of the law firm Cozen O’Connor. I submit this Declaration to transmit to the Court

the following documents submitted in support of Plaintiffs’ Averment of Jurisdictional Facts and

Evidence, and/or Statement of Facts Pursuant to Fed. R. Civ. P. 56.1, in further support of their

claims against Al Rajhi Bank (“ARB”).

       2.      Pursuant to the Honorable Sarah Netburn’s March 7, 2024 Order (ECF No. 9619)

authorizing the Plaintiffs’ Executive Committees (“PECs”) to file under seal voluminous

documentary materials and evidence offered in support of their Averment with the Clerk of the

Court, Plaintiffs have filed Exhibits 1-209 to this Declaration with the Clerk’s office via a DVD.
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        3.       Copies of Exhibits 1-209 have also been provided to counsel for ARB via secure

file transfer.

        4.       Attached hereto as Exhibit 1 is a true and correct copy of the September 27, 2023

Transcript of the Deposition of Abdullah bin Sulaiman Al Rajhi.

        5.       Attached hereto as Exhibit 2 is a true and correct copy of Pasley Exhibit 5.

        6.       Attached hereto as Exhibit 3 is a true and correct copy of the May 11, 2023

Transcript of the Deposition Al Rajhi Bank Rule 30(b)(6) Designee James Galloway.

        7.       Attached hereto as Exhibit 4 is a true and correct copy of the Expert Report of

Jonathan M. Winer, marked as Pasley Exhibit 3.

        8.       Attached hereto as Exhibit 5 is a true and correct copy of the March 7, 2024

Declaration of Jonathan M. Winer.

        9.       Attached hereto as Exhibit 6 is a true and correct copy of the 1998 Al Rajhi Bank

Annual Report.

        10.      Attached hereto as Exhibit 7 is a true and correct copy of the 1999 Al Rajhi Bank

Annual Report.

        11.      Attached hereto as Exhibit 8 is a true and correct copy of the 2000 Al Rajhi Bank

Annual Report.

        12.      Attached hereto as Exhibit 9 is a true and correct copy of a CIA Report,

CIA000720-804.

        13.      Attached hereto as Exhibit 10 is a true and correct copy of a CIA Report, CIA-

SUB_0001-6.

        14.      Attached hereto as Exhibit 11 is a true and correct copy of a CIA Report, CIA-

SUB_0020-30.




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         15.    Attached hereto as Exhibit 12 is a true and correct copy of the January 12, 2024

Transcript of the Deposition of Jonathan M. Winer.

         16.    Attached hereto as Exhibit 13 is a true and correct copy of Abdullah al Rajhi Exhibit

50.

         17.    Attached hereto as Exhibit 14 is a true and correct copy of Abdullah al Rajhi Exhibit

56 (NL 9625).

         18.    Attached hereto as Exhibit 15 is a true and correct copy of Bates No. NL 9623.

         19.    Attached hereto as Exhibit 16 is a true and correct copy of WAMYSA 102829.

         20.    Attached hereto as Exhibit 17 is a true and correct copy of WAMYSA 502115.

         21.    Attached hereto as Exhibit 18 is a true and correct copy of Abdullah al Rajhi Exhibit

63.

         22.    Attached hereto as Exhibit 19 is a true and correct copy of PEC-BARZ 13145-

13160.

         23.    Attached hereto as Exhibit 20 is a true and correct copy of PEC-BARZ 11521.

         24.    Attached hereto as Exhibit 21 is a true and correct copy of NL 693-713.

         25.    Attached hereto as Exhibit 22 is a true and correct copy of PEC-BARZ 13117-

13127.

         26.    Attached hereto as Exhibit 23 is a true and correct copy of PEC-BARZ 12025-

12041.

         27.    Attached hereto as Exhibit 24 is a true and correct copy of SANA-BELL 00001-

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         28.    Attached hereto as Exhibit 25 is a true and correct copy of Abdullah al Rajhi Exhibit

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       29.     Attached hereto as Exhibit 26 is a true and correct copy of Lormel Exhibit 9.

       30.     Attached hereto as Exhibit 27 is a true and correct copy of FED-PEC 1243-1369.

       31.     Attached hereto as Exhibit 28 is a true and correct copy of a March 23, 2002 article

from The Washington Post, Finances Prompted Raids on Muslims.

       32.     Attached hereto as Exhibit 29 is a true and correct copy of Galloway Exhibit 22,

NL 15578, 15043-15046.

       33.     Attached hereto as Exhibit 30 is a true and correct copy of NL 20470.

       34.     Attached hereto as Exhibit 31 is a true and correct copy of NL 20452.

       35.     Attached hereto as Exhibit 32 is a true and correct copy of NL 20453.

       36.     Attached hereto as Exhibit 33 is a true and correct copy of NL 15048.

       37.     Attached hereto as Exhibit 34 is a try and correct copy of NL 15551.

       38.     Attached hereto as Exhibit 35 is a true and correct copy of NL 15572.

       39.     Attached hereto as Exhibit 36 is a true and correct copy of NL 15573-15576.

       40.     Attached hereto as Exhibit 37 is a true and correct copy of NL 15042.

       41.     Attached hereto as Exhibit 38 is a true and correct copy of the Expert Report of

Evan F. Kohlmann, marked as Pasley Exhibit 4.

       42.     Attached hereto as Exhibit 39 is a true and correct copy of the Declaration of Evan

F. Kohlmann.

       43.     Attached hereto as Exhibit 40 is a true and correct copy of Lormel Exhibit 15.

       44.     Attached hereto as Exhibit 41 is a true and correct copy of Dean Exhibit 4.

       45.     Attached hereto as Exhibit 42 is a true and correct copy of PEC-KSA000329-352.

       46.     Attached hereto as Exhibit 43 is a true and correct copy of Dean Exhibit 5.

       47.     Attached hereto as Exhibit 44 is a true and correct copy of Lormel Exhibit 12.




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       48.    Attached hereto as Exhibit 45 is a true and correct copy of CIA 143-158.

       49.    Attached hereto as Exhibit 46 is a true and correct copy of CIA 193-199.

       50.    Attached hereto as Exhibit 47 is a true and correct copy of CIA 659-667.

       51.    Attached hereto as Exhibit 48 is a true and correct copy of Lormel Exhibit 18.

       52.    Attached hereto as Exhibit 49 is a true and correct copy of the September 6, 2002

Wa’el Jelaidan Designation.

       53.    Attached hereto as Exhibit 50 is a true and correct copy of the September 9, 2004

AHIF Designation.

       54.    Attached hereto as Exhibit 51 is a true and correct copy of EO14040 3478-3608

Updated.

       55.    Attached hereto as Exhibit 52 is a true and correct copy of TREASURY00009-11.

       56.    Attached hereto as Exhibit 53 is a true and correct copy of TREASURY00030-36.

       57.    Attached hereto as Exhibit 54 is a true and correct copy of CIA 2-16.

       58.    Attached hereto as Exhibit 55 is a true and correct copy of CIA 210-236.

       59.    Attached hereto as Exhibit 56 is a true and correct copy of the March 11, 2002

AHIF Designation.

       60.    Attached hereto as Exhibit 57 is a true and correct copy of the January 22, 2004

AHIF Designation.

       61.    Attached hereto as Exhibit 58 is a true and correct copy of Pasley Exhibit 8.

       62.    Attached hereto as Exhibit 59 is a true and correct copy of Abdullah al Rajhi Exhibit

33.

       63.    Attached hereto as Exhibit 60 is a true and correct copy of Abdullah al Rajhi Exhibit

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        64.    Attached hereto as Exhibit 61 is a true and correct copy of TREASURY00012-16.

        65.    Attached hereto as Exhibit 62 is a true and correct copy of TREASURY00017-29.

        66.    Attached hereto as Exhibit 63 is a true and correct copy of TREASURY00037-54.

        67.    Attached hereto as Exhibit 64 is a true and correct copy of TREASURY00087-92.

        68.    Attached hereto as Exhibit 65 is a true and correct copy of TREASURY00094-101.

        69.    Attached hereto as Exhibit 66 is a true and correct copy CIA 807-848.

        70.    Attached hereto as Exhibit 67 is a true and correct copy of CIA 675-679.

        71.    Attached hereto as Exhibit 68 is a true and correct copy of CIA 178-189.

        72.    Attached hereto as Exhibit 69 is a true and correct copy of CIA-SUB_0007-19.

        73.    Attached hereto as Exhibit 70 is a true and correct copy of Dean Exhibit 7.

        74.    Attached hereto as Exhibit 71 is a true and correct copy of Affidavit in Support of

Search Warrant, USDC for the District of Oregon, Case 6:05-cr-60008-AA.

        75.    Attached hereto as Exhibit 72 is a true and correct copy of a September 10, 2003

Wall Street Journal article.

        76.    Attached hereto as Exhibit 73 is a true and correct copy of Al Jazirah and Al Minbar

articles.

        77.    Attached hereto as Exhibit 74 is a true and correct copy of a February 13, 2007,

U.S. Diplomatic Cable.

        78.    Attached hereto as Exhibit 75 is a true and correct copy of TREASURY00102-121.

        79.    Attached hereto as Exhibit 76 is a true and correct copy of PEC-KSA 1464-1466.

        80.    Attached hereto as Exhibit 77 is a true and correct copy of PEC-KSA000965-978.

        81.    Attached hereto as Exhibit 78 is a true and correct copy of the February 21, 2019

Transcript of the Deposition of Adnan Basha.




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       82.    Attached hereto as Exhibit 79 is a true and correct copy of TREASURY00001-8.

       83.    Attached hereto as Exhibit 80 is a true and correct copy of CIA 500-563.

       84.    Attached hereto as Exhibit 81 is a true and correct copy of FED-PEC 134953-

134955.

       85.    Attached hereto as Exhibit 82 is a true and correct copy of TREASURY00055 –

86.

       86.    Attached hereto as Exhibit 83 is a true and correct copy of a David Aufhauser

Letter, dated November 29, 2001.

       87.    Attached hereto as Exhibit 84 is a true and correct copy of the June 2, 2004 Jamal

al Fadl Cooperating Witness Interview.

       88.    Attached hereto as Exhibit 85 is a true and correct copy of the December 21, 2004

U. S. Department of Treasury Adel Batterjee Designation.

       89.    Attached hereto as Exhibit 86 is a true and correct copy of the Federal Register,

Volume 86, No. 172, September 9, 2021, Executive Order 14040.

       90.    Attached hereto as Exhibit 87 is a true and correct copy of a March 29, 2022 email

from Sarah Normand.

       91.    Attached hereto as Exhibit 88 is a true and correct copy of an April 1, 2022 Index

of Documents Produced Pursuant to Section 2(b)(i) of E.O. 14040.

       92.    Attached hereto as Exhibit 89 is a true and correct copy of CIA 38-52.

       93.    Attached hereto as Exhibit 90 is a true and correct copy of Winer Exhibit 2.

       94.    Attached hereto as Exhibit 91 is a true and correct copy of CIA 317-338.

       95.    Attached hereto as Exhibit 92 is a true and correct copy of a June 7, 2022 email

from Sarah Normand.




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        96.     Attached hereto as Exhibit 93 is a true and correct copy of CIA-SUB 0031-33.

        97.     Attached hereto as Exhibit 94 is a true and correct copy of a July 26, 2007 Wall

Street Journal article.

        98.     Attached hereto as Exhibit 95 is a true and correct copy of Pasley Exhibit 6.

        99.     Attached hereto as Exhibit 96 is a true and correct copy of Terrorism Financing –

Origination, Organization, and Prevention, R. Richard Newcomb, July 31, 2003.

        100.    Attached hereto as Exhibit 97 is a true and correct copy of Makhtab al Khidamat

Designation – U.N. Security Council.

        101.    Attached hereto as Exhibit 98 is a true and correct copy of Abdullah al Rajhi Exhibit

31.

        102.    Attached hereto as Exhibit 99 is a true and correct copy of Lormel Exhibit 20.

        103.    Attached hereto as Exhibit 100 is a true and correct copy of ARB 38534-38535.

        104.    Attached hereto as Exhibit 101 is a true and correct copy of Bates No. ARB 39000,

38999, 38998.

        105.    Attached hereto as Exhibit 102 is a true and correct copy of Abdullah al Rajhi

Exhibit 32.

        106.    Attached hereto as Exhibit 103 is a true and correct copy of the April 1, 2019

Declaration of Omar Mohammedi (03 MD 1570, ECF No. 4465).

        107.    Attached hereto as Exhibit 104 is a true and correct copy of Exhibit 19 to the April

1, 2019 Declaration of Omar Mohammedi (03 MD 1570, ECF No. 4465-19).

        108.    Attached hereto as Exhibit 105 is a true and correct copy of WAMYSA 15516.

        109.    Attached hereto as Exhibit 106 is a true and correct copy of the April 1, 2019

Declaration of Ibrahem Alshalan (03 MD 1570, ECF No. 4466).




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       110.   Attached hereto as Exhibit 107 is a true and correct copy of ARB 39582-39585.

       111.   Attached hereto as Exhibit 108 is a true and correct copy of Benevolence

International Foundation (BIF) Designation.

       112.   Attached hereto as Exhibit 109 is a true and correct copy of ARB 974-1019.

       113.   Attached hereto as Exhibit 110 is a true and correct copy of ARB 1183-1216.

       114.   Attached hereto as Exhibit 111 is a true and correct copy of ARB 1217-1226.

       115.   Attached hereto as Exhibit 112 is a true and correct copy of ARB 14464-14466.

       116.   Attached hereto as Exhibit 113 is a true and correct copy of Third World Relief

Agency Report.

       117.   Attached hereto as Exhibit 114 is a true and correct copy of ARB 41454-41463.

       118.   Attached hereto as Exhibit 115 is a true and correct copy of ARB 41464-41501.

       119.   Attached hereto as Exhibit 116 is a true and correct copy of ARB 41502-41503.

       120.   Attached hereto as Exhibit 117 is a true and correct copy of ARB 41506-41507.

       121.   Attached hereto as Exhibit 118 is a true and correct copy of Plaintiffs’ Tranche 21

ARB Account Statements Summary.

       122.   Attached hereto as Exhibit 119 is a true and correct copy of ARB 745-787.

       123.   Attached hereto as Exhibit 120 is a true and correct copy of ARB 788-810.

       124.   Attached hereto as Exhibit 121 is a true and correct copy of ARB 1098-1105.

       125.   Attached hereto as Exhibit 122 is a true and correct copy of ARB 38079-38107 and

ARB 39948-39959.

       126.   Attached hereto as Exhibit 123 is a true and correct copy of ARB 39960.

       127.   Attached hereto as Exhibit 124 is a true and correct copy of ARB 39961.

       128.   Attached hereto as Exhibit 125 is a true and correct copy of ARB 42183-42184.




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       129.     Attached hereto as Exhibit 126 is a true and correct copy of ARB 42179-42180.

       130.     Attached hereto as Exhibit 127 is a true and correct copy of ARB 42181-42182.

       131.     Attached hereto as Exhibit 128 is a true and correct copy of NL 10086, 10088,

10094, 10245.

       132.     Attached hereto as Exhibit 129 is a true and correct copy of ARB 40860-41153.

       133.     Attached hereto as Exhibit 130 is a true and correct copy of ARB 41176-41184.

       134.     Attached hereto as Exhibit 131 is a true and correct copy of ARB 41185-41278.

       135.     Attached hereto as Exhibit 132 is a true and correct copy of ARB 42185-42186.

       136.     Attached hereto as Exhibit 133 is a true and correct copy of ARB 42187-42188.

       137.     Attached hereto as Exhibit 134 is a true and correct copy of ARB 41668-41720.

       138.     Attached hereto as Exhibit 135 is a true and correct copy of ARB 41441-41442.

       139.     Attached hereto as Exhibit 136 is a true and correct copy of ARB 41279-41283.

       140.     Attached hereto as Exhibit 137 is a true and correct copy of FDIC Guidelines,

March 30, 1995.

       141.     Attached hereto as Exhibit 138 is a true and correct copy of JMPC 001-228.

       142.     Attached hereto as Exhibit 139 is a true and correct copy of IIRO 109118-109119.

       143.     Attached hereto as Exhibit 140 is a true and correct copy of Mar-Jac Litigation

Exhibits.

       144.     Attached hereto as Exhibit 141 is a true and correct copy of Payments from Abdul

Rahman al Rajhi (Chase Manhattan Bank).

       145.     Attached hereto as Exhibit 142 is a true and correct copy of NL 10485.

       146.     Attached hereto as Exhibit 143 is a true and correct copy of KSA 1685.

       147.     Attached hereto as Exhibit 144 is a true and correct copy of KSA 1687.




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        148.   Attached hereto as Exhibit 145 is a true and correct copy of NL 15572.

        149.   Attached hereto as Exhibit 146 is a true and correct copy of NL 10468.

        150.   Attached hereto as Exhibit 147 is a true and correct copy of 2012 FBI Summary

Report (03 MD 1570, ECF No. 6292-1).

        151.   Attached hereto as Exhibit 148 is a true and correct copy of ARB 39154, 39156,

39158, 39160, 39162, 39164.

        152.   Attached hereto as Exhibit 149 is a true and correct copy of the Transcript of the

August 22, 2007 Proceedings in the matter of USA v. Pirouz Sedaghtay, Case 6:05-cr-60008-AA.

        153.   Attached hereto as Exhibit 150 is a true and correct copy of ARB 2477-2572.

        154.   Attached hereto as Exhibit 151 is a true and correct copy of IIRO 215526-215529.

        155.   Attached hereto as Exhibit 152 is a true and correct copy of IIRO 126173-126176.

        156.   Attached hereto as Exhibit 153 is a true and correct copy of IIRO 112761-112762.

        157.   Attached hereto as Exhibit 154 is a true and correct copy of IIRO 112745-112748.

        158.   Attached hereto as Exhibit 155 is a true and correct copy of IIRO 59410-59411.

        159.   Attached hereto as Exhibit 156 is a true and correct copy of IIRO 108937.

        160.   Attached hereto as Exhibit 157 is a true and correct copy of IIRO 105986.

        161.   Attached hereto as Exhibit 158 is a true and correct copy of IIRO 1999-2000

Annual Report, marked as Basha Exhibit 134.

        162.   Attached hereto as Exhibit 159 is a true and correct copy of the February 8, 2024

Transcript of the Deposition of Aimen Dean.

        163.   Attached hereto as Exhibit 160 is a true and correct copy of EO 14040-002857-

2863.

        164.   Attached hereto as Exhibit 161 is a true and correct copy of ARB 40369.




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         165.   Attached hereto as Exhibit 162 is a true and correct copy of ARB 42189-42216.

         166.   Attached hereto as Exhibit 163 is a true and correct copy of 42217-42218.

         167.   Attached hereto as Exhibit 164 is a true and correct copy of an article by Susan

Schmidt, October 2, 2003.

         168.   Attached hereto as Exhibit 165 is a true and correct copy of October 21, 2019

Transcript of the Deposition of Ibrahim Abdullah, Ph. D.

         169.   Attached hereto as Exhibit 166 is a true and correct copy of “The 28 Pages.”

         170.   Attached hereto as Exhibit 167 is a true and correct copy of ARB 39329.

         171.   Attached hereto as Exhibit 168 is a true and correct copy of ARB 13761, 13762,

13767.

         172.   Attached hereto as Exhibit 169 is a true and correct copy of ARB 13754-13755.

         173.   Attached hereto as Exhibit 170 is a true and correct copy of an August 3, 2006 IIRO

Designation, marked as Abdullah al Rajhi Exhibit 28.

         174.   Attached hereto as Exhibit 171 is a true and correct copy of the January 11, 2024

Transcript of the Deposition of Evan F. Kohlmann.

         175.   Attached hereto as Exhibit 172 is a true and correct copy of ARB 38920.

         176.   Attached hereto as Exhibit 173 is a true and correct copy of ARB 38885.

         177.   Attached hereto as Exhibit 174 is a true and correct copy of ARB 38878.

         178.   Attached hereto as Exhibit 175 is a true and correct copy of ARB 38994.

         179.   Attached hereto as Exhibit 176 is a true and correct copy of ARB 38995.

         180.   Attached hereto as Exhibit 177 is a true and correct copy of ARB 39001.

         181.   Attached hereto as Exhibit 178 is a true and correct copy of ARB 38996.

         182.   Attached hereto as Exhibit 179 is a true and correct copy of ARB 38978.




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       183.   Attached hereto as Exhibit 180 is a true and correct copy of ARB 38979.

       184.   Attached hereto as Exhibit 181 is a true and correct copy of ARB 39077.

       185.   Attached hereto as Exhibit 182 is a true and correct copy of ARB 38486.

       186.   Attached hereto as Exhibit 183 is a true and correct copy of the March 7, 2024

Declaration of Ben T. Railsback.

       187.   Attached hereto as Exhibit 184 is a true and correct copy of the February 9, 2024

Transcript of the Deposition of Fawzi al Hobayb.

       188.   Attached hereto as Exhibit 185 is a true and correct copy of NL 10068, 10384.

       189.   Attached hereto as Exhibit 186 is a true and correct copy of NL 10333.

       190.   Attached hereto as Exhibit 187 is a true and correct copy of ARB 858-959.

       191.   Attached hereto as Exhibit 188 is a true and correct copy of ARB 16-734.

       192.   Attached hereto as Exhibit 190 is a true and correct copy of an Associated Press

article by Richard Cole, May 26, 1997.

       193.   Attached hereto as Exhibit 191 is a true and correct copy of Galloway Exhibit 3.

       194.   Attached hereto as Exhibit 192 is a true and correct copy of a U.N. General

Assembly Resolution, January 1997.

       195.   Attached hereto as Exhibit 193 is a true and correct copy of U.N. International

Convention for the Suppression of the Financing of Terrorism, United Nations 1999.

       196.   Attached hereto as Exhibit 194 is a true and correct copy of Abdullah al Rajhi

Exhibit 51.

       197.   Attached hereto as Exhibit 195 is a true and correct copy of Abdullah al Rajhi

Exhibit 52.




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        198.   Attached hereto as Exhibit 196 is a true and correct copy of Abdullah al Rajhi

Exhibit 55.

        199.   Attached hereto as Exhibit 197 is a true and correct copy of Abdullah al Rajhi

Exhibit 54

        200.   Attached hereto as Exhibit 198 is a true and correct copy of SANA-BELL 37-38.

        201.   Attached hereto as Exhibit 199 is a true and correct copy of Galloway Exhibit 24.

        202.   Attached hereto as Exhibit 200 is a true and correct copy of IIRO 315040.

        203.   Attached hereto as Exhibit 201 is a true and correct copy of the Complaint in USA

v. Sohiel Omar Kabir.

        204.   Attached hereto as Exhibit 202 is a true and correct copy of a statement by Abdullah

al-Jibrin.

        205.   Attached hereto as Exhibit 203 is a true and correct copy of NL 10327, 10348,

10349, 10350, 10145, 10423 and 10194.

        206.   Attached hereto as Exhibit 204 is a true and correct copy of the FBI Protected

Materials version of Jonathan Winer’s Expert Report.

        207.   Attached hereto as Exhibit 205 is a true and correct copy of AT&T Subpoena

Response.

        208.   Attached hereto as Exhibit 206 is a true and correct copy of NL 18775.

        209.   Attached hereto as Exhibit 207 is a true and correct copy of FBI 573-580.

        210.   Attached hereto as Exhibit 208 is a true and correct copy of the FBI Protected

Materials version of Evan Kohlmann’s Expert Report.

        211.   Attached hereto as Exhibit 209 is a true and correct copy of EO14040-002857-

2863-MDL (FBI Protected Material).




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Executed in Philadelphia, Pennsylvania on March 8, 2024.




                                          J. Scott Tarbutton, Esq.




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